                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
In the Matter of:                       In Bankruptcy:

INTEGRATED HEALTH GROUP, P.C.                            Case No. 15-53145-mlo
                                                         Chapter 7
     Debtor                                              Hon. Maria L. Oxholm
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             STIPULATED ORDER RESOLVING CLAIM NO. 18

       This matter came before this Court upon the Stipulation entered into between

the Chapter 7 Trustee and creditor Hussein A. Huraibi, MD PLLC. The Court being

otherwise duly advised in the premises:


       IT IS HEREBY ORDERED that proof of claim number 18 filed by Hussein

A. Huraibi, MD PLLC is allowed as an administrative expense claim in the amount

of $5,850.00.


 
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Signed on March 01, 2017
                                             __      _/s/ Maria L. Oxholm    _ __
                                                   Maria L. Oxholm
                                                   United States Bankruptcy Judge
 




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